Case 3:11-cv-01958-JLS-BGS Document 98 Filed 04/29/14 PageID.6247 Page 1 of 1



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  8                        UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
 10   NEIL SMITH, individually and on                Case No. 11-CV-1958 JLS (BGS)
      behalf of a class of similarly situated
 11   individuals,                                   ORDER GRANTING STIPULATED
                                                     MOTION TO DISMISS ACTION
 12                                   Plaintiff,     WITH PREJUDICE PURSUANT TO
             vs.                                     FEDERAL RULE OF CIVIL
 13                                                  PROCEDURE 41(a)(2)
 14                                                  (ECF No. 97)
 15   MICROSOFT CORPORATION, a
      Washington corporation,
 16
                                    Defendant.
 17
 18         Presently before the Court is Plaintiff Neil Smith’s Stipulated Motion to Dismiss
 19 Action With Prejudice Pursuant to Federal Rule of Civil Procedure 41(a)(2). (ECF No.
 20 97.) Good cause appearing, the Court GRANTS the Motion. The above-named action
 21 is hereby DISMISSED WITH PREJUDICE. Each party will bear its own costs and
 22 fees.
 23         IT IS SO ORDERED.
 24 DATED: April 29, 2014
 25                                             Honorable Janis L. Sammartino
                                                United States District Judge
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